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       PROPERTY EXECUTION PROCEEDINGS                                                 STATE OF CONNECTICUT
       APPLICATION, ORDER, EXECUTION                                                   SUPERIOR COURT
       JD-CV-5 Rev. 9-09, C.G.S. §§ 52-356a, 52-356d                             www.jud.ct.gov
       P.A. 03-266 Sec. 9
                                               See Back/Page 2 for Instructions to person in possession of property of Judgment Debtor
                    To Judgment Creditor or Attorney                                                To Clerk                                                         To Proper Officer
       Type or print original and four copies of the                       Check the file to ensure that no stay of enforcement has         Make execution as directed in the "Execution" section
       Application. If judgment _debtor is a natural person,             . been entered on the judgmen\, the time for filing an             be_low. Attach return to signed original within 4 months
       attach copy of form JD-CV-Sb. Present original and                  appeal of the judgment has expired, no appeal has been           from the date this execution issued. If judgment debtor
       3 copies to clerk of court. Enter name and address                  filed staying enforcement of the judgment and that the           is a natural person, attach exemption claim form
       of person to receive issued execution in the address                information provided on the application is correct. Sign         JD-CV-Sb to copy(ies) of execution served. Complete
       box below. See Notice to Judgment Creditor or                       original execution; return original and 2 copies to the          Section II on exemption claim form.
       Attorney on back/page 2.                                            applicant. Retain a copy for the file.
                                          Name and mailing address of Judgment Creditor or Attorney                                                                                  APPFEXT
                                             (To be completed by Judgment Creditor or Attorney)
                         r Houston Putnam Lowry, Esq.                                                             7                                                          1111111111111111111111!1111111111!11111111
                                                                                                                                                                                      EXISSUE
                             Ford & Paulekas, LLP
                             280 Trumbull Street - Suite 2200                                                                                                                111!11111111111111111111111111111111111111
                             Hartford, CT 06103                                                                                                                                        EXRETD

                                                                                                                                                                               1111111111111111111111111111111111111111
                         L                                                                                       _]

                   Address of Court (Number, street, and town)     O Geographic Area O Judicial District O Housing Session I Date of judgment                      Docket number
                    US District Court, 450 Main Street - Annex 135, Hartford, CT 06103                                                05/29/2024                I 3:23-cv-00903-MPS
(Fo Id)            Name(s) and address(es) of Judgment Creditor(s) making application                       Name(s) and address(es) of Judgment Debtor(s)
                   145 Sisson Avenue, LLC                                                                   (Include any necessary identification information)
                   91 South Main Street                                                                        Aron Puretz
                   Wallingford, CT 06492                                                                       43 Fenway Circle
                                                                                                               Staten Island, NY 10308-1240

            C:     1. Amount of judgment         (Include, where applicable, prejudgment interest     2. Amount of costs and fees                     3. Total amount of judgment, costs and fees
            0                                    and attorney's fees)                                                                                 $ 2,152,787.36                 (Add 1 and 2)
          :;:::;   $ 2,152,787.36                                                                                                                 1
            ra     4. Total amount paid (If any)    15. Total amount unpaid (Subtract 4 from 3)       6. Application fee for property execution   (If not waived 17. total of lines 5 and 6
          .!=
          c..
          c..
                   $ 0.00                             $2,152,787.36                                    $ 0.00                                     by th e court)           $ 2,152,787.36
          <(       Is this judgment arising out of services provided at a hospital?
                   ~No                   D Yes (If yes, see Notice to Judgment Creditor or Attorney on back/page 2)
                   Is this a Consumer judgment?      ("Consumer judgment" means a money judgment of less than $5,000 against a natural person resulting from a debt incurred primarily for
                                                                                            If yes, has a stay of property execution been
                   personal, family or household purposes)
                                                                ~No              0Yes entered pursuant to an installment payment order?                 0 No              □ Yes
                   If a stay of property execution has been entered , has the Judgment Debtor defaulted on an installment payment order? (Specify)

                          ~
                   ~         (.Judgment-erft(!J/or orAl,ornev                                             Date signed                Telephone number {Include area code)


   /
                                     /


                   To Any:~perOfficer:              ,d   "                                               I 06/25/2024               I 860-808-4213
                   Wherea on said date of judgm nt the Judgment Creditor(s) recovered judgment against the Judgment Debtor(s) before the court for
                   the amou         ed as ,:,n    s of1 record, whereof execution remains to be done. These are, therefore, BY AUTHORITY OF THE
                   STATE OF CONNECTICUT TO COMMAND YOU : That of the nonexempt goods of said Judgment Debtor(s) within your precincts,
                   you cause to be levied (the same being seized and sold as the law directs), paid and satisfied to said Judgment Creditor(s) the total
                   unpaid amount of said judgment, plus your own fees in the following manner: You shall personally serve a copy of this execution on
                   the judgment debtor, and if the judgment debtor is a natural person , a copy of the exemption claim form (JD-CV-5b), and make
                   demand for payment by the judgment debtor of all sums due under the money judgment. On failure of the judgment debtor to make
                   immediate payment you are commanded to levy on nonexempt personal property of the judgment debtor, other than debts due from a
                   banking institution or earnings, sufficient to satisfy the judgment as follows: If such nonexempt personal property is in the possession
           C:
           0       of the judgment debtor, you shall take such personal property into your possession as is accessible without breach of peace. If the
          :;:::;   judgment debtor has left the state prior to service of this execution, or if he cannot be found with reasonable effort at his last known
           ::i
           u       address in this state, you shall proceed with the levy after (1) making demand for payment at such last known address and on any
           QI
           ><      agent or attorney of the judgment debtor of record with the clerk of the Superior Court and (2) making a reasonable effort to ascertain
          w
                   and provide notice of the execution at any forwarding address.
                                                                                                                                   FOR COURT USE ONLY
                   See back/page 2 for additional command regarding Demand on Third Person.

                   HEREOF FAIL NOT, AND MAKE DUE RETURN OF THIS WRIT WITH YOUR DOINGS THEREON,
                   ACCORDING TO LAW, WITHIN FOUR MONTHS HEREOF.

                   NOTICE: THE JUDGMENT DEBTOR'S NONEXEMPT PERSONAL PROPERTY IS SUBJECT TO LEVY,
                                 SEIZURE, AND SALE BY THE PROPER OFFICER PURSUANT TO THIS EXECUTION.
                   Signed (Assistant Clerk)                                                                           I
                                                                                                                      On (Dale)
                                                         Joanne Pesta, Deputy Clerk, USDC                             7/2/24
                                                                                                  Page 1 of 2                                     PROPERTY EXECUTION PROCEEDINGS
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                             Case 3:23-cv-00903-MPS Document 63 Filed 07/02/24 Page 2 of 2

  Instructions (continued from front/page 1)

  PERSON IN POSSESSION OF PROPERTY OF JUDGMENT DEBTOR WHO IS A NATURAL PERSON - Pursuant to Gen. Stat.
 52-356a, you are required to mail to the judgment debtor indicated on the fronUpage 1 at his or her last known address, postage prepaid,
 a copy of this property execution and the attached property execution exemption claim form. Complete Section Ill on exemption claim form
 before mailing it to judgment debtor. Twenty days from the date of the service of this property execution, you must deliver to the proper
 officer property owned by the judgment debtor in your possession or you must deliver to the proper officer payment of a debt owed by you
 to the judgment debtor. EXCEPT (1) If an exemption claim has been filed with the court you shall withhold delivery of the property or
 payment of the debt owed by you subject to the determination of the exemption claim by the court and (2) if the debt owed by you to the
 judgment debtor is not due at the expiration of the twenty days, you shall pay the amount to the proper officer when the debt becomes due
 if it becomes due within four months after the date of issuance of this execution.

 PERSON IN POSSESSION OF PROPERTY OF JUDGMENT DEBTOR WHO IS NOT A NATURAL PERSON - Pursuant to Gen. Stat.
 52-356a, you are required to deliver to the proper officer, property in your possession owned by the judgment debtor or pay to the proper
 officer the amount of a debt owed by you to the judgment debtor, provided, if the debt owed by you is not yet payable, payment shall be
 made to the proper officer when the debt becomes due if it becomes due within four months after the date of issuance of this execution.


 Notice To Judgment Creditor Or Attorney
 Pursuant to Public Act 03-266, Section 9, in the case of a judgment arising of services provided at a hospital, no application for a property
 execution shall be made until the court has (A) issued an order for installment payments in accordance with Gen. Stat. 52-356d, (B) made
 a finding that the debtor has defaulted on payments under the order, and (C) lifted the mandatory stay concerning noncompliance or
 default, and decide whether to modify the installment payment plan, continue the installment payment plan, or lift the stay.




                                            Demand On third Person (continued from front/page 1)

            A. If judgment debtor is a natural person:                                B. If judgment debtor is not a natural person:
                 On failure of the judgment debtor to make immediate payment                On failure of the judgment debtor to make
            of all sums due under the money judgment, and upon your being             immediate payment of all sums due under the money
            unable to levy on nonexempt personal property of the judgment             judgment and upon your being unable to levy on
            debtor in the judgment debtor's possession and, if the judgment           nonexempt personal property of the judgment debtor in
            debtor has left the state prior to the service of this execution, upon    the judgment debtor's possession and, if the judgment
   =c-
    (1)     your being unable to obtain payment sufficient to satisfy the             debtor has left the state prior to the service of this
    ::s
    C:      judgment by making demand for payment at the judgment debtor's            execution, upon your being unable to obtain payment
   :;:;     last known address in this state and on any agent or attorney of the
    C:                                                                                sufficient to satisfy the judgment by making demand
    0       judgment debtor of record with the clerk of the Superior Court, you       for payment at the judgment debtor's last known
   ~        are also commanded to make demand upon any third person having            address in this state and on any agent or attorney of
    C:
    0       possession of nonexempt personal property of the judgment debtor          the judgment debtor of record with the clerk of the
   :;:;
    ::s     for payment to you, or to levy on any nonexempt personal property         Superior Court, you are also commanded to make
    0       or debt due said judgment debtor sufficient to satisfy the total
    Cl)                                                                               demand upon any third person having possession of
   ><       amount of judgment unpaid pursuant to Gen. Stat. 52-356a(4 )(c).          nonexempt personal property of the judgment debtor
   w
            After having made such demand you are directed to serve two true          for payment to you or to levy on any nonexempt
            and attested copies of this execution, together with the exemption        personal property or debt due said judgment debtor(s)
            claim form, with your doings endorsed thereon, on the third person        sufficient to satisfy the total amount of the judgment
            upon whom such demand was made.                                           unpaid pursuant to Gen. Stat. 52-356a(4)(c).




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